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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,
                                                          Case No.: 1:18-cv-7689
       Plaintiff,
                                                          Judge Matthew F. Kennelly
v.
                                                          Magistrate Judge M. David Weisman
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                               SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on January 8, 2019 [33], in

 favor of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff

 acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

 release this judgment and hereby fully and completely satisfy the same as to the following

 Defendants:

               NO.                                   DEFENDANT
               238                                  8seasons-jewelry

        THEREFORE, full and complete satisfaction of said judgment as to above identified

 Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

 to make an entry of the full and complete satisfaction on the docket of said judgment.
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